                      Case 1:23-cv-01496-JLT-CDB                            Document 5     Filed 10/26/23                Page 1 of 2               POS-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                         FOR COURT USE ONLY
D. Jason Davis (SBN 193225)
DAVIS LAW GROUP, A Professional Law Corporation
222 W. 6th St., Suite 400
San Pedro, CA 90731

                        424-256-6279
           TELEPHONE NO.:                             FAX NO. (Optiona, :
                        jdavis@dlglawcorp.com
E-MAIL ADDRESS /Optional):
   ATTORNEY FOR (Name): Plaintiff Sierra School Equipment Compar y
SUPERIOR COURT OF CALIFORNIA, COUNTY OF KERN
 STREET ADDRESS:        1215 Truxtun Avenue
 MAILING ADDRESS:
c1TY AND z1P CODE: Bakersfield, CA 93301
    BRANCH NAME         Metropolitan Division
         PLAINTIFF/PETITIONER: Sierra School Equipment Company                                       CASE NUMBER:

 DEFENDANT/RESPONDENT: The Lafayette Insurance Company, et al.                                           1:23-cv-01496-JLT-CBD
                                                                                                     Ref. No. or File No.:
                            PROOF OF SERVICE OF SUMMONS
                                       (Separate proof of service is req 1ired for each party served.)
1. At the time of service I was at least 18 years of age and not :1 party to this action.
2. I served copies of:
    a.    [KJ summons
    b. [KJ complaint
    c. D Alternative Dispute Resolution (ADR) package
    d. [KJ Civil Case Cover Sheet (served in complex cases only)
    e.    D cross-complaint
    f.    D other (specify documents):
3. a. Party served (specify name of party as shown on documr;Jnts served):
      Michael Holman
    b.    D Person (other than the party in item 3a) served on pehalf of an entity or as an authorized agent (and not a person
                  under item 5b on whom substituted service was m.�de) (specify name and relationship to the party named in item 3a):


4. Address where the party was served:
   3711 Snug Harbor Rd. NE, Olympia, WA 98506
5. I served the party (check proper box)
    a.    [KJ by personal service. I personally delivered the do::uments listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (da e): September 27, 2023                  (2) at (time): 12:45 pm

    b.    D by substituted service. On (date):                                at (time):             I left the documents listed in item 2 with or
                  in the presence of (name and title or relationship tc person indicated in item 3):

                  (1) D (business) a person at least 18 years of i ge apparently in charge at the office or usual place of business
                        of the person to be served. I informed him or her of the general nature of the papers.
                  (2)   D (home) a competent member of the housE hold (at least 18 years of age) at the dwelling house or usual
                              place of abode of the party. I informed hirr or her of the general nature of the papers.
                  (3)   D (physical address unknown) a person a least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other han a United States Postal Service post office box. I informed
                              him or her of the general nature of the pa� ers.
                  (4) D I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served

                                                                                                          □
                        at the place where the copies were left (C,�de Civ. Proc.,§ 415.20). I mailed the documents on
                        (date):                        from (city):                            or      a declaration of mailing is attached.
                  (5) D I attach a declaration of diligence statin� actions taken first to attempt personal service.
                                                                                                                                                      Page 1 of 2
                                                                                                                                  Code of Civil Procedure,§ 417.10
Form Adopted for Mandatory Use
  Judicial Council of California                        PROOF OF SEl�VICE OF SUMMONS
POS--01 O [Rev. January 1, 2007]
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           PLAINTIFF/PETITIONER: Sierra School Equipment Company                                                   CASE NUMBER:

     DEFENDANT/RESPONDENT: The Lafayette Insurance Company, et al.                                                 BCV-23-101953


5. c.       D       by mail and acknowledgment of receipt of sendce. I mailed the documents listed in item 2 to the party, to the
                    address shown in item 4, by first-class mail, posta Je prepaid,

                      (1) on (date):                                                       (2) from (city):
                      (3) D with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                      to me. (Attach completed Notice and Ac,nowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                      (4)     D       to an address outside California with ret Jrn receipt requested. (Code Civ. Proc., § 415.40.)

      d.    D       by other means {specify means of service and at thorizing code section):




            D         Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
      a. [I] as an individual defendant.
      b. D          as the person sued under the fictitious name of (specify) :
      c. D          as occupant.
      d. D          On behalf of (specify):
                    under the following Code of Civil Procedure section:
                                   CJ 416.10 (corporation)                    D                   415.95 (business organization, form unknown)
                                   D 416.20 (defunct corporation)             D                   416.60 (minor)
                                   D 416.30 (joint stock company/associati~n) D                   416.70 (ward or conservatee)
                                   D 416.40 (association or partnership)      D                   416.90 (authorized person)
                                   D 416.50 (public entity)                   D                   415.46 (occupant)
                                                                              D                   other:
7. Person who served papers
      a. Name: Michael W. Graham, KKWT Process Services
      b. Address: P.O. Box 4623, Spanaway, WA 98387
      c. Telephone number: (253) 565-6670
      d. The fee for service was: $32.20
      e. I am :
            (1)   W         not a registered California process server.
            (2)   D         exempt from registration under Business and F rofessions Code section 22350(b).
            (3)   D         a registered California process server:
                            (i)     D     owner     D      employee        D       independent contractor.
                            (ii)    Registration No.:
                            (iii) County:

8. [I] I declare under penalty of perjury under the laws of th, State of California that the foregoing is true and correct.
              or
9.    D       I am a California sheriff or marshal and I certify that he foregoing is true and correct.


Date: October 11, 2023                                        KKWT PROCESS SERVICES
                                                                        P.O . BO:\ -l ti'.!j
Michael W. Graham                                                  SP.-\.'\:\\\'..\, . \\'.\. \J8j8i
        (NAME OF PERSON WHO SERVED PAPERS/SHERIFF c R MARSHALB LS: <~:): 1/H);,.1mio




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                                                             PROOF OF SEI ~VICE OF SUMMONS
